
11 N.Y.2d 1112 (1962)
In the Matter of Eleanore Pacos et al., Appellants,
v.
Glenn L. Hunter et al., Constituting the Board of Education of Fredonia Central School District, Respondents.
Court of Appeals of the State of New York.
Argued May 9, 1962.
Decided July 6, 1962.
Robert L. Manuele and Kenneth W. Glines for appellants.
James A. Sommer and A. Bruce Manley for respondents.
Appeal dismissed, with costs, in the following memorandum: This appeal is taken as of right upon the ground that a substantial *1113 constitutional question is presented. As we read the petition, it fails to state facts sufficient to constitute an issue to be tried either by the Commissioner of Education or the courts regardless of section 2037 of the Education Law. Consequently, no constitutional question is presented and for that reason the appeal is dismissed.
